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                          Entered on Docket
                    5December 18, 2017
                 ___________________________________________________________________
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                        7
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                      11
                              650 White Drive, Suite 100
                      12      Las Vegas, Nevada 89119
                              Telephone (725) 777-3000
                      13      Facsimile (725) 777-3112
                              Counsel for the Official
                      14      Committee of Unsecured Creditors
                      15

                      16                                 UNITED STATES BANKRUPTCY COURT
                                                            FOR THE DISTRICT OF NEVADA
                      17

                      18
                              In re:                                            Case No.: 16-10933-BTB
                      19                                                        Chapter 11
                              JOHN A. RITTER,
                      20          Affects this Debtor.
                                                                                JOINTLY ADMINISTERED UNDER
                      21                                                        CASE NO.: 16-10933-BTB
                              In re:
                      22      AGAVE PROPERTIES, LLC,                            Case No.: 16-13338-btb
                      23          Affects this Debtor.                          Chapter 11

                      24      In re:
                                                                                Case No.: 16-13340-btb
                      25      CLIFF ROSE INVESTMENTS, LLC,                      Chapter 11
                                Affects this Debtor.
                      26
                              In re:
                      27                                                        Case No.: 16-13341-btb
                              FOCUS SOUTH GROUP, LLC,                           Chapter 11
                      28        Affects this Debtor.
GARMAN TURNER GORDON LLP
  650 White Drive, Ste. 100
    Las Vegas, NV 89119
       725-777-3000

                              4849-5569-2632, v. 1
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                        1     In re:
                              FSG-S, LLC,                                       Case No.: 16-13342-btb
                        2
                                Affects this Debtor.                            Chapter 11
                        3
                              In re:
                        4                                                       Case No.: 16-13343-btb
                              JV PROPERTIES, LLC,                               Chapter 11
                        5         Affects this Debtor.
                              In re:
                        6                                                       Case No.: 16-13344-btb
                              N.G.A. #2, LLC,                                   Chapter 11
                        7         Affects this Debtor.
                              In re:
                        8
                              NORTHWEST INVESTMENTS, LLC,                       Case No.: 16-13345-btb
                        9       Affects this Debtor.                            Chapter 11

                      10      In re:
                      11      PV LAND INVESTMENTS, LLC,                         Case No.: 16-13346-btb
                                Affects this Debtor.                            Chapter 11
                      12
                              In re:
                      13
                              SAGUARO EQUITIES, LLC,                            Case No.: 16-13347-btb
                      14        Affects this Debtor.                            Chapter 11

                      15
                              In re:
                      16      SOUTHWEST DESERT EQUITIES, LLC,                   Case No.: 16-13348-btb
                                Affects this Debtor.                            Chapter 11
                      17

                      18      In re:
                              SUCCOTASH, LLC,                                   Case No.: 16-13349-btb
                      19        Affects this Debtor.                            Chapter 11
                      20
                              In re:                                            Case No.: 16-13350-btb
                      21      VICTOR INVESTMENTS, LLC,                          Chapter 11
                      22         Affects this Debtor.

                      23                                                        Hearing Date: December 11, 2017
                                                                                Hearing Time: 10:00 a.m.
                      24
                                  ORDER APPROVING SECOND AND FINAL FEE APPLICATION OF GARMAN
                      25
                                TURNER GORDON LLP, AS ATTORNEYS FOR THE OFFICIAL COMMITTEE OF
                      26         UNSECURED CREDITORS, FOR THE ALLOWANCE OF COMPENSATION FOR
                                PROFESSIONAL SERVICES RENDERD AND REIMBURSEMENT OF EXPENSES
                      27

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                        1                The Court having review and considered the Second and Final Fee Application of Garman

                        2     Turner Gordon LLP, as Attorneys for the Official Committee of Unsecured Creditors, for the
                        3
                              Allowance of Compensation for Professional Services Rendered and Reimbursement of Expenses
                        4
                              [ECF No. 1828] (the “Application”)1 and the documents in support thereof [ECF Nos. 1829, 1830
                        5
                              and 1833] filed by Garman Turner Gordon LLP (“GTG”), the Objection of the United States
                        6
                              Trustee to Second and Final Fee Application of Garman Turner Gordon LLP [ECF No. 1884]
                        7

                        8     filed by the Office of the United States Trustee, and the Reply to Objection of the United States

                        9     Trustee to Second and Final Fee Application of Garman Turner Gordon LLP [ECF No. 1889] and
                      10      the documents in support thereof [ECF Nos. 1890 and 1891] filed by GTG, and good cause
                      11
                              appearing therefore,
                      12
                                         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that, pursuant to 11
                      13
                              U.S.C. §§ 330(a) and 331, the Application is granted as follows:
                      14

                      15                 1.       Professional compensation for services rendered and expenses incurred for the

                      16      Compensation Period is approved in the amount of $909,968.34;

                      17                 2.       Professional compensation for services rendered and expenses incurred during the
                      18      Final Application Period are approved on a final basis in the amount of $1,139,424.54, of which
                      19
                              $195,037.00 already have been paid;
                      20
                                         3.       All orders granting GTG interim compensation in these Chapter 11 Cases are
                      21
                              confirmed and final;
                      22

                      23                 …

                      24                 …

                      25                 …
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                      28          All capitalized, undefined terms herein shall be defined in the Application.

GARMAN TURNER GORDON LLP
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                        1              …

                        2              4.       The Reorganized Debtors are hereby authorized to pay to GTG all unpaid fees and
                        3
                              expenses for the Compensation Period and Final Application Period.
                        4
                                       IT IS SO ORDERED.
                        5
                              PREPARED AND SUBMITTED BY:
                        6
                               GARMAN TURNER GORDON LLP                            APPROVED/DISAPPROVED
                        7

                        8                                                          WHITE & CASE LLP
                               By: /s/ William M. Noall
                        9      WILLIAM M. NOALL
                               MARK M. WEISENMILLER                                By: /s/ Roberto J. Kampfner        ___
                      10       650 White Drive, Suite 100                          Roberto J. Kampfner
                               Las Vegas, Nevada 89119                             555 South Flower Street, Suite 2700
                      11
                               Counsel for the Official                            Los Angeles, CA 90071
                      12       Committee of Unsecured Creditors                    Attorneys for Debtors

                      13
                               APPROVED/DISAPPROVED                                APPROVED/DISAPPROVED
                      14

                      15       SCHWARTZ FLANSBURG PLLC                             ANDERSON LAW FIRM, LTD.

                      16
                               By: /s/ Bryan A. Lindsey    ___                     By: /s/ Ryan A. Andersen          ___
                      17       Bryan A. Lindsey                                    Ryan A. Andersen
                               SCHWARTZ FLANSBURG PLLC                             333 South Hope Street, Suite 3625
                      18       6623 Las Vegas Boulevard South, Suite 300           Los Angeles, CA 90071
                      19       Las Vegas, NV 89119                                 Attorneys for Multibank
                               Attorneys for Debtors
                      20
                      21       APPROVED/DISAPPROVED                                APPROVED/DISAPPROVED
                      22       FTI CONSULTING, INC.                                CONWAY MACKENZIE
                      23

                      24       By: /s/Michael Tucker           ___                 By: /s/ Jeffrey C. Perpea           ___
                               Michael Tucker                                      Jeffrey C. Perpea
                      25       Two North Central Ave., Suite 1200                  333 South Hope Street, Suite 3625
                               One Renaissance Square                              Los Angeles, CA 90071
                      26
                               Phoenix, AZ 85004-4563
                      27

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                        2      APPROVED/DISAPPROVED
                        3
                               THE OFFICE OF THE UNITED STATES
                        4      TRUSTEE

                        5
                               By: /s/ Jason Blumberg            ___
                        6      Jason Blumberg
                               501 “I” Street, Suite 7-500
                        7
                               Sacramento, CA 95814-2322
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                        1                                      LR 9021 CERTIFICATION

                        2            In accordance with LR 9021, counsel submitting this document certifies that the order
                              accurately reflects the court’s ruling and that (check one):
                        3
                                                     The court waived the requirement of approval under LR 9021(b)(1).
                        4

                        5                            No party appeared at the hearing or filed an objection to the motion.

                        6                            I have delivered a copy of this proposed order to all counsel who appeared
                                                     at the hearing, and any unrepresented parties who appeared at the hearing,
                        7                            and each has approved or disapproved the order, or failed to respond, as
                                                     indicated below [list each party and whether the party has approved,
                        8                            disapproved, or failed to respond to the document]:
                        9
                                                     ROBERTO KAMPFNER, ESQ. for White &Case [Approved]
                      10
                                                     BRYAN LINDSEY for Schwartz Flansburg [Approved]
                      11
                                                     RYAN A. ANDERSEN for Multibank [Approved]
                      12
                                                     MICHAEL TUCKER for FTI Consulting [Approved]
                      13
                                                     JEFFREY C. PEREA for Conway MacKenzie [Approved]
                      14
                                                     JASON BLUMBERG for the Office of the United States Trustee
                      15                             [Approved]
                      16
                                                     I certify that this is a case under Chapter 7 or 13, that I have served a copy
                      17                             of this order with the motion pursuant to LR 9014(g), and that no party has
                                                     objection to the form or content of the order.
                      18

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    Las Vegas, NV 89119
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                              4849-5569-2632, v. 1
